Case 1:05-cr-10060-.]DT Document 7 Filed 09/01/05 Page 1 of 2 Page|D 7

UNITED sTATEs DISTRICT COURT nine sr M~ D'U'
WESTERN DISTRICT oF TENNESSEE

     

Eastern Division []5 S{{F -l FH 51 lli
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UNITED STATES oF AMERICA high ij 1liter1(_;§;\1?11
`vs' ease No. 1=05¢r10060-T
DEMARCO HUGHES

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is Set for
WEDNESDAY, SEPTEMBER 7, 2005 at 2:30 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom No. 407, Fourth Floor, United Stat:es Courthouse and F ederal
Building, 111 South Highland, Jackson, TN TN. Pending this hearing, the defendant shall be held

in custody by the United States Marshal and produced for the hearingl

Date: September l, 2005 /© M/(:C /( @/M/
`-A ' L

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

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1 [f not held immediately upon defendants first appearance, the hearing may be continued for'§§§i'?three daKuponir-n
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3 142(1`)(2). C:_ z §1_`_ ?' `U f
A bearing is required Whenever the conditions set forth in 1 8 U.S.C. § 3142(f) are present. Su;l_):§‘e`ct:i§i"i (1) sglsl forth©
the grounds that may be asserted only by the attomey for the government subsection (2) states that ah n ring is mandated _ij
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is_"§§di_"i[€i-§s riskjj_ljat the::;
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate€éi`§ §£§S§ipt to tli_r:eateni,:;"i

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injure, or intimidate a prospective witness or juror. --."§2 L'“
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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10060 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Ste. B-S

Jacl<son, TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
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Honorable .l ames Todd
US DISTRICT COURT

